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                   In the United States District Court
                               FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA

                         Plaintiff,

      v.                                               Case No. 19-CR-20052-01-JAR

FENG TAO,

                         Defendant.


       GOVERNMENT’S SUPPLEMENTAL NOTICE OF EXPERT TESTIMONY
                       (Fed. R. Crim. P. 16(a)(1)(G))

       COMES NOW, the United States of America, by and through Christopher Oakley,

Assistant United States Attorney for the District of Kansas, and Benjamin J. Hawk and Adam P.

Barry, Trial Attorneys for the Counterintelligence and Export Control Section of the U.S.

Department of Justice’s National Security Division, to hereby withdraw its notice filed on August

13, 2020, with respect to the proposed expert testimony of Dr. Robert Spalding, III. (ECF No.

81.) On January 22, 2021, the Government notified the Defendant’s counsel that it no longer

intends to call Dr. Spalding as an expert witness in the above-captioned case. The Government

is in the process of retaining a different expert and once that process is finalized, it will provide

Defendant with additional notice pursuant to Fed. R. Crim. P. 16(a)(1)(G).

                                                      Respectfully submitted,


                                                      s/ D. Christopher Oakley
                                                      D. CHRISTOPHER OAKLEY
                                                      Assistant United States Attorney
                                                      500 State Ave., Suite 360
                                                      Kansas City, KS 66101
                                                      Tele: 913-551-6730
                                                      Fax: 913-551-6541
                                                      Chris.Oakley@usdoj.gov




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                                  s/ Benjamin J. Hawk
                                  BENJAMIN J. HAWK
                                  Trial Attorney
                                  U.S. Department of Justice
                                  National Security Division
                                  950 Pennsylvania Ave., NW
                                  Washington, DC 20530
                                  Tele: 202-233-0986
                                  Benjamin.Hawk@usdoj.gov


                                  s/ Adam P. Barry
                                  ADAM P. BARRY
                                  Trial Attorney
                                  U.S. Department of Justice
                                  National Security Division
                                  950 Pennsylvania Ave., NW
                                  Washington, DC 20530
                                  Tele: 202-233-0788
                                  Adam.Barry@usdoj.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 2, 2021, I electronically filed the foregoing with the clerk of

the court by using the CM/ECF system which will send a notice of electronic filing to all counsel

of record in the above-captioned case.


                                                      s/ D. Christopher Oakley
                                                      D. CHRISTOPHER OAKLEY
                                                      Assistant United States Attorney




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